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                  Exhibit L
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                              EXPERT REPORT OF
                    DR. ROBERT H. POPPENGA, DVM, PhD, DABVT


     1. INTRODUCTION:

        Plaintiff Daniel Zeiger has filed a lawsuit alleging that Defendant WellPet LLC
(“WellPet”) has misrepresented the healthfulness of three formulas of Wellness brand dog food
due to the presence of “unsafe” and “dangerous” levels of arsenic, lead, and bisphenol-A (BPA)
in the food. The three formulas are: (1) Wellness Core Ocean Whitefish, Herring Meal & Salmon
Meal Recipe (“Core Ocean”); (2) Wellness Complete Health Adult Whitefish & Sweet Potato
Recipe (“Sweet Potato”); and (3) Wellness Complete Health Grain Free Adult Whitefish &
Menhaden Fish Meal Recipe (“Menhaden”). I am a veterinary toxicologist and I have been retained
as an expert in this matter for WellPet to address whether the levels of arsenic, lead, and BPA at
issue pose a health risk to dogs.

     2. PROFESSIONAL EXPERIENCE AND QUALIFICATIONS:

       I am a Professor of Clinical and Diagnostic Veterinary Toxicology and Head of the
Toxicology Section at the California Animal Health and Food Safety Laboratory (CAHFS), School
of Veterinary Medicine (SVM), University of California at Davis (UCD). The Toxicology
Laboratory at CAHFS is one of the busiest of its kind in the world and offers comprehensive
diagnostic toxicology testing. The laboratory is a member of the Food Emergency Response
Network (FERN) and the Veterinary Laboratory Investigation and Response Network (VetLIRN),
two national laboratory networks led by the U.S. Food and Drug Administration (FDA) and
focused on human and animal food safety. I have been a faculty member at CAHFS and SVM
since 2004. I teach veterinary toxicology to veterinary students at the UCD SVM, and advise
residents in diagnostic veterinary toxicology at CAHFS.

        I have almost 33 years of experience as a diagnostic veterinary toxicologist, including
previous faculty and diagnostic laboratory positions at Michigan State University College of
Veterinary Medicine (1987-1993), and the University of Pennsylvania School of Veterinary
Medicine (1993-2004). Prior to that, I practiced small animal veterinary medicine for four years
before returning to school to pursue a PhD and specialty training in veterinary toxicology. During
my specialty training, I served as a staff veterinarian for the National Animal Poison Control
Center (NAPCC) at the University of Illinois College of Veterinary Medicine.

        I am board-certified by the American Board of Veterinary Toxicology (ABVT), which is
the American Veterinary Medical Association (AVMA) approved organization that certifies
veterinarians in the specialty of veterinary toxicology. I received my DVM and PhD degrees from
the University of Illinois in 1978 and 1987, respectively.

        My curriculum vitae, which includes my educational background, experience, and
qualifications in more detail, along with my publications, is attached as Exhibit A.
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     3. PRIOR TESTIMONY:

       During the previous four years, I have testified as an expert at trial or by deposition in the
following cases: Raza v. Spain and Randall, No. SC 122344, Superior Court in the State of
California, County of Los Angeles, Central District (2016/2017); Loeb v. Champion Petfoods, No.
18-cv-494-JPS, Eastern District of Wisconsin (January 2019); and Reitman v. Champion Petfoods,
No. 2:18-CV-01736-DOC, Central District of California (May 2019, August 2019).

     4. COMPENSATION:

       I am being paid for my work on this matter at an hourly rate of $300. My compensation
does not depend on the outcome of the case.

     5. INFORMATION CONSIDERED:

       In reaching my opinions, I considered the materials listed at Exhibit B.

     6. SUMMARY OF OPINIONS:

        The following opinions are formed based on my education, training and experience in the
field of veterinary toxicology as well as my investigation in this case as detailed below.1 These
opinions are based on a reasonable degree of scientific certainty:

       A)    Arsenic and lead occur in nature and the environment and are routinely found in pet
             foods at safe levels.

       B)    The maximum tolerable levels (MTLs) established by the National Research Council
             and followed by FDA are the best and most widely used scientific guidance available
             to veterinary toxicology and nutrition experts for determining safe levels of arsenic
             and lead in dog food.

       C)    The levels of naturally occurring arsenic and lead in the Wellness dog food diets do
             not present a health risk to dogs.

       D)    The concentrations of arsenic and lead in the Wellness dog foods fall within ranges
             that have been reported in the scientific literature in numerous pet food samples and
             are comparable to those seen in other fish-based dog foods. Detected levels also are
             well below the concentrations that have been determined to be associated with
             adverse effects by experts and regulatory agencies with oversight of pet foods.

       E)    Based upon a conservative, theoretical, worst-case BPA exposure assessment using
             current scientific information, the amount of BPA reportedly found in the Wellness

1
  I reserve the right to change, modify, or add to this Report, should Plaintiff set forward any
additional or alternative benchmarks or standards as to metals or other toxins at issue. Furthermore,
should Plaintiff present expert opinions pertaining to these subject matters or related subject
matters, I reserve the right to conduct additional work and analysis, and if appropriate, to offer
rebuttal expert opinions.
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             products is an infinitesimal fraction (far less than one-tenth of one percent) of the
             lowest available animal derived no observable adverse effect level (NOAEL), and
             thus well below any level that might cause harm to a dog.

     7. ARSENIC AND LEAD:

       Arsenic and lead are naturally occurring substances that are widely distributed in the
environment. Their distribution can be influenced by human activities (e.g., mining,
manufacturing, fossil fuel combustion) or through natural geological processes (e.g., weathering
or volcanic eruptions). Below is a brief summary of the toxicity associated with both elements.

       a. Arsenic

        Arsenic is a naturally occurring element that is widespread in the environment and can be
found in rocks, soil, water, and foods (i.e., seafoods, grains such as rice, fruits, and vegetables; see
http://www.fda.gov/Food/FoodborneIllnessContaminants/Metals/ucm280202.htm). DeClementi
(2013) suggests that it is impossible for animals to avoid exposure to natural sources of arsenic
given its ubiquitous nature. Arsenic can be found in both inorganic and organic forms and the form
influences its potential toxicity. Organic arsenic, such as arsenobetaine (AsB), is the form found
mainly in fish and other seafood and is essentially non-toxic (Kelly et al. 2013). Acceptable intakes
of arsenic (i.e., Reference Doses or RfDs established for human intakes) are defined for inorganic
forms of arsenic, which are not typically present in pet foods (Kelly et al., 2013). Arsenic might
be an essential (required) mineral for humans (and other animals) at low concentrations, although
its essential role in maintaining health is not completely clear (NRC, 2005).

        When assessing toxicity, the importance of the form of arsenic can’t be overstated. A recent
review of different forms of arsenic in seafood consumed by humans confirmed that AsB is the
predominant form of arsenic in seafood and the principal dietary source of arsenic exposure for
humans (Luvonga et al., 2020). AsB is considered to be non-toxic with an acute oral lethal dose
50 (a dosage capable of causing lethality in 50% of the individuals given the chemical) of greater
than 10,000 mg/kg body weight.2 Contrast these doses of organic forms of arsenic with the acute
oral lethal doses of inorganic arsenic ranging between 15 and 42 mg/kg body weight. As one
example of the low toxicity of organic forms of arsenic to mammals, a wild sheep species on the
island of North Ronaldsay is known to exclusively consume over their lifetimes seaweeds
containing up to 74 mg of arsenic, as organic arsenic, per gram of dry matter without ill effects
(Hansen, 2002). Seventy-four mg of arsenic per gram is equivalent to an arsenic concentration of
74,000 ppm. Another organic arsenical, roxarsone, was previously used as a feed additive in
poultry production. Mice were fed diets containing 57 ppm arsenic in the form of roxarsone for
two years (mouse lifetime) with no significant toxic effects noted (NTP, 1989). The testing
Plaintiff relies on identified the amount of total arsenic in the dog food and did not differentiate
between organic and inorganic arsenic. Dr. Pusillo also failed to address this important distinction.

        Arsenic intoxication is now rare in animals due to the decreased use of arsenic compounds
as therapeutic agents (i.e., heartworm treatment in dogs), pesticides, livestock feed additives, and

2
  If a lethal dose 50 is given as “greater than” this means that it was the highest dosage tested and
therefore the actual lethal dose 50 could potentially be much higher.
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wood preservatives. The Committee on Mineral and Toxic Substances in Diets and Water for
Animals (MTSA Committee) of the National Research Council (NRC) (see section 10a below)
concluded that “chronic oral arsenic toxicosis in domestic animals is seldom reported. The reason
for this may be the fact that arsenic is relatively nontoxic to domestic animals.” No cases of acute
(sudden) or chronic (long-term) arsenic poisoning in dogs or cats as a result of pet food
consumption were found following a search of the PubMed database (an NIH supported resource)
as of July 2020.

        When arsenic intoxication does occur, it is most often due to acute exposure to inorganic
arsenic salts (e.g., arsenic trioxide or sodium arsenite) from non-food sources. Signs of acute
inorganic arsenic poisoning are usually sudden and severe, typically developing within a few
hours. Arsenic poisoning has major effects on the gastrointestinal (GI) tract and cardiovascular
systems. Loss of blood and circulatory shock can occur. Large amounts of watery diarrhea,
sometimes tinged with blood, are characteristic, as are severe abdominal pain, dehydration,
weakness, depression, weak pulse, and collapse of circulation. Many of these signs are non-
specific in nature and can be caused by a variety of illnesses. Thus, a diagnosis of arsenic exposure
or intoxication requires testing of appropriate biologic samples (e.g., blood or urine from a live
individual or liver or kidney from a dead individual) for its presence.

        In humans, adverse health effects from chronic exposure to arsenic include skin
pigmentation changes, skin lesions, hyperkeratosis on the palms and soles of the feet, and cancers
of the skin, bladder and lungs. Other adverse health effects include developmental defects,
diabetes, and pulmonary and cardiovascular disease (World Health Organization,
https://www.who.int/news-room/fact-sheets/detail/arsenic). Again, a diagnosis of arsenic
exposure/intoxication requires testing of appropriate biologic samples.

       b. Lead

        Lead is a naturally occurring metallic element distributed throughout the environment. It
is found in many different forms (elemental lead, inorganic lead salts, and organic forms). The
toxicity of lead varies depending on its form. Lead poisoning, a condition in which increased levels
of the metal lead are found in blood, can afflict both humans and animals following either acute or
chronic exposure to the metal. Lead is a non-essential metal.

        Lead poisoning is relatively uncommon in dogs and cats today due to the removal of many
sources associated with significant environmental lead exposure (e.g., paint). No reports were
found following a July 2020 search in the PubMed database for dogs or cats that described lead
intoxication from the ingestion of constituent components of a pet food (e.g., use of beef, chicken
or seafood as part of the formulation).

        The signs of lead poisoning primarily relate to effects on the GI and central nervous
systems (CNS). GI signs such as vomiting and diarrhea are more common with chronic and low-
level exposure, whereas CNS symptoms such as hysteria, blindness and seizures are more common
with acute exposures of young animals. Other common signs include anorexia, lethargy, abdominal
pain, regurgitation, weakness, behavior changes, and anemia. Many of these signs are non-specific
in nature and can be caused by a variety of illnesses. Thus, a diagnosis of lead


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exposure/intoxication requires testing of whole blood from a live animal or liver/kidney samples
from a dead animal for lead.

        8. TESTING PERFORMED ON WELLNESS DOG FOODS

      Lead and arsenic testing conducted at WellPet’s request by Midwest Laboratories on various
ingredients used in the Wellness dog foods did not detect either metal above the analytical
reporting limits of 5 ppm (lead) and 10 ppm (arsenic). (Kean Declaration ¶¶ 36-37; Plaintiff’s
Motion for Class Certification, Exhibits 11-14, 17-23; Midwest Laboratories Reports). These
limits are below regulatory guidance thresholds established by the NRC (2005) and followed by
the FDA to inform their decision-making with regard to pet food safety.3

     Additional testing performed by other laboratories on the three Wellness products in 2017
and 2018 are summarized in Table 1.4

Table 1

                 Wellness Complete         Wellness Complete        Wellness Core Ocean
                 Health Grain Free Adult   Health Adult Whitefish   Whitefish, Herring
                 Whitefish and Menhaden    and Sweet Potato         Meal, and Salmon Meal
                 Fish Meal Recipe                                   Recipe
    Chemical
    Solutions
    (6/12/2017
    and
    6/7/2017)
    Arsenic      1.2 ppm                                            1.5 ppm
    Lead         0.22 ppm                                           0.21 ppm

    Ellipse
    Analytics
    (1/10/2018
    and
    2/13/2018)
    Arsenic      1.44 ppm to 1.51 ppm      1.12 ppm                 1.10 ppm
    Lead         0.20 ppm to 0.22 ppm      0.28 ppm                 0.186 ppm




3
  Dr. Pusillo suggested that metal testing done by WellPet was not reliable because duplicate
samples were not submitted to a second analytical laboratory to confirm the detected
concentrations by the first analytical laboratory. However, Plaintiff has not provided any
comparison results for the testing performed by Chemical Solutions, Ellipse Analytics, or Iowa
State University.
4
  These results are listed in Appendix B of Dr. Pusillo’s report.
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    Iowa State
    Veterinary
    Diagnostic
    Laboratory
    (6/4/2019)
    Arsenic    0.62 ppm                     0.75 ppm                    0.77 ppm
    Lead       0.29 ppm                     0.27 ppm                    0.31 ppm

       9. STUDIES ON ARSENIC AND LEAD IN PET FOODS:

       Given the widespread presence of arsenic and lead in our environment through both natural
processes and human activities, it is not unusual to find these elements in soils, plants, and human
and animal foods. Therefore, it is not unusual to find them in pet foods, such as the Wellness
products, which contain high inclusions of fish in their formulas. Several studies in the peer-
reviewed scientific literature have examined the concentrations of metals in pet foods.

         a. Atkins et al.

        Atkins et al. (2011) measured the concentrations of metals, including arsenic and lead in
58 dog and cat foods (31 dry pet food and 27 wet pet food samples) by inductively coupled plasma-
mass spectrometry (ICP-MS). Samples were processed by cryogenic grinding and results were
reported on a wet weight basis (as µg/kg).5 As discussed later in this report, FDA criticized this
study as having significant methodological flaws related to the interpretation of the significance
of the data and not the data itself (see section 10b below). Table 2 shows the ranges of the metals
found in 18 dry dog food diets in the Atkins study, with all measurements converted to mg/kg, or
parts per million (ppm).6

Table 2: Ranges of metal concentrations found in 18 dry dog foods by Atkins et al. (2011).




5
  Wet weight refers to analyzing a sample (e.g., a pet food) as is without considering the sample’s
moisture content. Dry weight refers to the sample after it has been dried to a constant weight (e.g.,
removing all of the moisture from the sample). If the moisture content of the sample is known,
analyte concentrations can be converted between wet weight and dry weight using the following
formula: dry weight = wet weight x 100/(100-moisture percentage). Given the relatively low
moisture content of dry kibble food (approximately 8%), it is not material whether metals (or other
chemicals of interest) are measured on a wet or dry weight basis.
6
  1 microgram (µg/kg) = 0.001 milligram (mg/kg). To convert micrograms (µg/kg) to milligrams
(mg/kg), one needs to move the decimal point three places to the left. Milligrams per kilogram is
equivalent to parts per million (ppm) and micrograms per kilogram is equivalent to parts per billion
(ppb). For ease of comparison, this report will convert measurements of mg/kg and µg/kg to ppm
and ppb, respectively.

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                                               Arsenic             Lead
                                               (ppm)              (ppm)
                            Dry Dog Food   0.0304 to 0.248    0.070 to 0.933

                               N = 18


       b. Kelly et al.

        Kelly et al. (2013) assessed the elemental composition in 18 dry dog food samples from
the Atkins study using two different sample digestion techniques (nitric acid and simulated gastric
acid digestions). Results were reported on a dry weight basis as µg/kg (ppb). Table 3 shows the
maximum concentrations, using nitric acid digestion, of arsenic and lead in the Kelly study, with
all measurements converted to ppm (mg/kg).

Table 3: Maximum concentrations found in 18 dry dog foods by Kelly et al. (2013).

                                               Arsenic             Lead
                                               (ppm)              (ppm)

                            Dry Dog Food         0.79              0.32

                               N = 18



       The authors concluded that elemental concentrations in dog food “clearly demonstrate a
consistency with acceptable levels in animal feedstuff.” The Kelly concentrations are
approximately the same as the concentrations reported in Table 1 for the Wellness dog foods.

       c. Paulelli et al.

       Paulelli et al. (2018) determined the heavy metal concentrations in dry and canned cat and
dog foods, testing 76 dry pet foods (62 dry dog foods and 14 dry cat foods from 43 brands) and 12
canned pet foods (6 canned dog foods and 6 canned cat foods from 5 brands) purchased in Brazilian
supermarkets. While not explicitly stated, the concentrations provided are believed to be expressed
on a wet weight basis.7 Another unknown is how Brazilian pet food ingredients differ from those
used in the U.S., although similar ingredients are likely utilized. Table 4 shows the ranges of the
metals found in the dry dog food diets in the Paulelli study, measured in ppm (mg/kg).




7
  Although sometimes difficult to determine from published studies whether heavy metal
concentrations were expressed on a wet weight or dry weight basis, dry kibble dog foods have
relatively low moisture content and, therefore, wet weight vs. dry weight concentrations generally
would not vary by more than 8 to 10%. This difference would not alter conclusions based upon
the studies included in this report.
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Table 4: Ranges of metal concentrations found in 62 dry dog food samples by Paulelli et al.
(2018).

                                                Arsenic               Lead
                                                 (ppm)               (ppm)
                          Dry Dog Food         0.07 to 0.9         0.06 to 1.4

                               N = 62


       d. Kim et al.

          Kim et al. (2018) tested 51 dry dog foods that varied with regard to the primary meat source
(i.e., fish, red meat [beef, pork, venison or bison] or poultry [chicken, turkey or duck]) for arsenic
and lead. The authors did not report metal concentrations found in the various pet food samples,
but normalized the concentrations based upon the respective caloric contents of the foods (i.e., the
authors reported metal concentrations as milligrams of metal per megacalorie – mg/Mcal).

        In order to compare metal concentrations from this study to other cited studies, it was
necessary to convert mg/Mcal to mg/kg food. To do so, it was assumed that each kg of food
contained 4,000 kilocalories (Kcal). One Mcal = 1,000 Kcal. Thus, one mg/Mcal, as reported by
the authors, would be equivalent to one mg per 0.25 kg of food. Therefore, to convert Kim et al.’s
concentration ranges for the different foods into mg/kg would require their concentrations to be
multiplied by 4. Table 5 sets forth the concentrations of metals measured in ppm (mg/kg).8

Table 5: Ranges of metal concentrations found in dry dog foods by Kim et al. (2018).



                       Protein     Number of          Arsenic              Lead
                       Source       Products          (ppm)               (ppm)
                                     Tested

                        Fish            17         0.10 to 4.416       0.072 to 1.3

                     Red Meat           17        0.028 to 0.536      0.128 to 6.484

                       Poultry          17        0.028 to 0.532      0.076 to 1.22


       The authors concluded that the primary protein ingredient(s) used in the pet food
formulation affects the concentrations of arsenic and lead present in the dog food, and specifically
noted that fish-based diets were most likely to have higher concentrations of arsenic. The study

8
  While not explicitly stated by the authors, it is believed that the results are reported on a wet
weight basis. However, moisture contents for the tested food samples were not provided. Whether
the measurements were taken on a wet or dry basis would not alter conclusions based upon the
studies included in this report.
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further concluded that even though dogs might be exposed to higher levels of heavy metals than
humans, it does not indicate a higher risk of toxicity from pet foods because levels are well below
chronic exposure levels associated with adverse health effects.

Table 6: Comparison of fish-based diets in Kim et al. to the Wellness fish-based diets.

                           Product tested                 Arsenic           Lead
                                                          (ppm)            (ppm)
                    Fish-based diets in Kim et al.     0.10 to 4.416    0.072 to 1.3

                  Wellness Complete Health Grain       0.62 to 1.51     0.20 to 0.29
                     Free Adult Whitefish and
                   Menhaden Fish Meal Recipe
                    Wellness Complete Health            0.75; 1.12       0.27; 0.28
                   Whitefish and Sweet Potato
                  Wellness Core Ocean Whitefish,        0.77 to 1.5     0.19 to 0.31
                  Herring Meal, and Salmon Meal
                             Recipe


       Table 7 sets forth the levels of arsenic and lead in specific competitor fish-based diets for
dogs, expressed on a wet weight basis.

Table 7: Arsenic and Lead Measured in Competitor Fish-Based Dog Foods by Third-Party
Laboratories.9

                 Competitor Diet Tested              Arsenic           Lead         %
                                                      (ppb)            (ppb)      Moisture
             Acana Wild Atlantic with Wild-            3530             415
               Caught New England Fish &
                 Fresh Kentucky Greens
             Blue Buffalo, Wilderness Denali          773              291             6.41
                Dinner: Salmon, Venison,
                         Halibut
               Blue Buffalo, Life Protection          669              227             6.72
              Formula, Fish and Brown Rice
               Earthborn Natural, Holistic-           1030             290             5.48
                Grain Free, Coastal Catch-
             Herring, Salmon and Whitefish
               Holistic Select Adult Health           714              106             4.94
             Anchovies, Sardine, and Salmon

9
  The laboratories used to generate this data were Eurofins (https://www.eurofins.com/) and
Marshfield Food Safety LLC (acquired in 2017 by ALS Limited; https://www.alsglobal.com/en-
us/locations/americas/north-america/usa/wisconsin/marshfield-food), which are reputable
accredited food testing laboratories whose results I would rely on during the conduct of my
ordinary practice as a veterinary toxicologist.
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               Merrick, Back Country-Raw              699             184            7.72
             Infused, Pacific Catch - Salmon,
                   Whitefish, and Trout
               NutriSource Grain Free Dry             885             277            7.03
                      Seafood Select
                      Orijen Six Fish                 3360             46

                 Taste of the Wild, Pacific           1080           5850            8.38
                           Stream

       e. WellPet’s Safe Levels of Arsenic and Lead Are Comparable to Those in
          Competitor Dog Foods.

       As Table 6 and Table 7 demonstrate, the levels of arsenic and lead in the Wellness dog
foods are similar to those present in competitor dog foods available in the market.

        By way of example, Kim et al. (2018) tested 51 dry dog foods for arsenic and lead. The
dog food brands, and number of diets of each brand, tested included: Nestle-Purina (4), Zignature
(4), Natural Balance (3), Wellness (3), IAMS (2), Rachael Ray (2), FirstMate (2), Wild Calling
(2), Nutro (2), Merrick (2), Blue Buffalo (2), Diamond (2), Annamaet (1), Holistic Select (1), EVO
(1), KASIKS (1), Holistic Blend (1), Farmina (1), Dr. Tim’s (1), Orijen (1), Acana (1), South Star
(1), American Natural Premium (1), California Natural (1), Tuscan Natural (1), Pedigree (1), Royal
Canin (1), American Journey (1), Go! (1), Instinct (1), Ol’ Roy (1), AvoDerm (1), CANIDAE (1),
Canine Caviar (1). Kim et al.’s results are reproduced in Table 5, above.

       The Kim et al. results confirm that nearly every dog food available on the market contains
some amount of arsenic and lead. They also demonstrate that the amounts of arsenic and lead
found in the Wellness products fall within the Kim et al. ranges.

       f. Summary of Peer-Reviewed Literature

        A review of the available peer-reviewed scientific literature clearly shows that arsenic and
lead are naturally present in most pet foods, and WellPet’s concentrations of arsenic and lead are
safe and well within the ranges reported in the literature.

     10. REGULATORY AGENCY DISCUSSION REGARDING HEAVY METALS IN
         PET FOODS:

       a. The National Research Council’s Mineral Tolerance of Animals

        In 2003, the FDA asked the National Academies of Sciences (NAS) to convene a
committee of scientific experts to provide recommendations on mineral tolerances and toxic
dietary levels for animals in order to prevent the adverse effects of minerals on the health of
animals, consumers, and the environment. The NAS is a group of independent scientists with the
goal to improve government decision-making and public policy in matters involving science,
engineering, technology, and health.


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         As a result of concerns about the potential chronic health effects posed to dogs and cats
(and livestock) from the presence of heavy metals in their foods, the National Research Council
(NRC) formed a Committee on Mineral and Toxic Substances in Diets and Water for Animals
(MTSA Committee). The MTSA Committee was an independent group of scientists with
recognized scientific expertise in the effects of metals on metabolism and the health of animals.
The NRC charged the MTSA Committee with conducting a thorough review of the scientific
literature on trace elements and macro minerals and making appropriate recommendations. The
committee examined the primary literature of peer-reviewed journal publications, along with some
government surveys and expert reports. It focused on two main aspects of toxicity effects on
animals: the mechanisms of toxicity for each mineral and the maximum tolerable level that will
not impair animal health.

       Under the sponsorship of the Center for Veterinary Medicine at FDA (FDA-CVM), the
MTSA Committee published the Mineral Tolerances of Animals, 2nd Edition (2005), which
proposed maximum tolerable levels (MTL) for 37 individual metals, for rare earth minerals, for
sodium chloride, and for nitrates and nitrites in domestic animal feeds based on indices of animal
health after reviewing pertinent information in the scientific literature. (Note that the terms
element, metal, and mineral are used interchangeably in this report).

         The MTL of a mineral is defined as the dietary level that, when fed for a defined period of
time, will not impair animal health or performance. It is highly dependent upon the form of the
mineral to which the animal is exposed. Important chemical factors determine the bioavailability
of the mineral sources, including the solubility of the mineral compound in the digestive tract, its
valence state, and whether the mineral is organic or inorganic. The MTLs recommended by the
Committee were based on results from a wide variety of studies across multiple domestic animal
species, including dogs and cats. The committee concluded that the MTLs are the appropriate
comparators for animal diets and physiology rather than the acceptable limits for people developed
by the Environmental Protection Agency (EPA) and the World Health Organization (WHO).10 The
MTLs applied to all dogs irrespective of age, weight, or physiologic status (e.g., reproductive
status).

       The dietary MTLs, in dry weight, are 12,500 µg/kg or 12.5 mg/kg for arsenic, and 10,000
µg/kg or 10 mg/kg for lead. (NRC, 2005). It is important to note that the Mineral Tolerance of
Animals, 2005, gives a total dietary arsenic MTL across species of 30 mg/kg (ppm), but notes a
non-toxic dietary concentration in rats of 12.5 mg/kg (ppm). The FDA’s Target Animal Safety
Review (2011) used a more conservative MTL of 12.5 mg/kg for their evaluation since rats were
considered to be the species most sensitive to arsenic. Thus, the FDA has at times used a lower,
more conservative threshold for pet foods without identifying a health risk for dogs or cats.

       b. FDA’s Target Animal Safety Review Memorandum

       Due to concerns about the relevance to health of the measured concentrations noted by
Atkins (2011), FDA’s CVM critically reviewed the conclusions of the Atkin’s Part II paper and

10
   Plaintiff’s complaint references exposure limits set by EPA for humans and other limits
proposed by FDA for humans.

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determined that the measured concentrations did not present an adverse health risk to pets and, in
fact, the concentrations present were only a fraction of acceptable dietary intakes based upon the
conclusions of the MTSA Committee in the Mineral Tolerances of Animals, 2nd Edition (2005).
See Target Animal Safety Review Memorandum, http://www.fda.gov/downloads/AboutFDA/
CentersOffices/OfficeofFoods/CVM/CVMFOIAElectronicReadingRoom/UCM274327.pdf.

        The FDA Target Animal Safety Review authors faulted the Atkin’s paper for “the selection
of the EPA RfD and WHO PTDI values11 for humans for comparison and judging whether the
calculated exposures are excessive and problematic for dogs or cats.” Atkins et al. justified the use
of those two human health benchmarks because the FDA had not developed tolerable limits for
trace metals in pet food. The FDA Target Animal Safety Review authors responded:

       It is true that FDA has not promulgated guidance, action levels, or tolerances for
       maximum content in feeds for the 15 elements measured and discussed in the
       manuscripts. The specific 15 elements measured in the Atkins et al. studies, as well
       as other elements in the periodic table, may be naturally occurring constituents of
       feeds and feed ingredients. The Federal Food, Drug, and Cosmetic Act (the Act)
       requires that the amount of a poisonous or deleterious substance that is itself not
       directly added to food, but rather is a constitutive component of food, needs to be
       present in an amount that ordinarily renders the product injurious to health before
       the food can be considered adulterated and actionable under the prohibitions of the
       Act. To meet this adulteration standard for elements present in animal feeds,
       including pet foods, the FDA considers the information and recommendations of
       the National Research Council of the National Academies (NRC) Committee on
       Minerals and Toxic Substances in Diets and Water for Animals (MTSA
       Committee) as published in Mineral Tolerance of Animals Second Revised Edition,
       2005.

By way of the Target Animal Safety Review, the FDA approved of and adopted the NRC’s MTLs
and even used a more conservative total arsenic threshold for their evaluation of risks to pets.

        The MTLs established by the NRC and used by the FDA are the best and most widely used
scientific guidance available to veterinary toxicology and nutrition experts for determining what
are safe levels of heavy metals in dog food. I frequently rely on the MTLs in my practice as a
veterinary toxicologist.

       c. EU Directive (2002/32/EC)

       In 2002, the European Union (EU) proposed regulations for safe upper limits of arsenic
and lead in pet foods. This was prior to the publication of the Mineral Tolerances of Animals, 2nd
Edition (2005). The EU amended this directive most recently in November 2019. The current EU



11
  EPA RfD refers to the reference dose used by the Environmental Protection Agency. WHO
PTDI refers to the permissible tolerable daily intake values for people set by the World Health
Organization.
                                                 12
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regulatory limits, measured in mg/kg relative to a feed with a moisture content of 12%, are as
follows:

       Arsenic (total): 10 mg/kg
           o Recorded as the limit for “complementary feed for pet animals containing fish,”
               “complete feed for fish and fur animals,” and “complete feed for pet animals
               containing fish.”

       Inorganic Arsenic: 2 mg/kg (as set out in footnote 2 of the EU Directive)
       Lead: 10 mg/kg and 5 mg/kg
            o Recorded as the limit for “complementary feed” and “complete feed,” respectively.

       The concentrations of arsenic and lead identified for the Wellness dog foods are all well
below the regulatory limits set by the EU.

As discussed earlier, there is a significant difference in toxicity between inorganic arsenic and
organic arsenic. Organic forms of arsenic predominate in ingredients derived from fish and
shellfish (Thomas and Bradham, 2016). The predominant organic arsenic form, arsenobetaine or
Asb, is relatively non-toxic compared to inorganic forms of arsenic (Luvonga et al., 2020; Thomas
and Bradham, 2016; Sakurai et al., 2004). The arsenic in the Wellness dog foods is almost certainly
this organic form derived from the included fish ingredients. The EU regulations for pet food allow
up to 10 ppm of arsenic in pet foods containing fish because most of the measured arsenic is in an
organic form (arsenobetaine or AsB).

       My review of heavy metal test results for other fish-based pet foods further supports the
above conclusion. Organic arsenic comprised 99%+ of the arsenic in the fish-based pet food tested
by Eurofins Laboratory (https://www.eurofins.com/). These results are set forth below in Table 8.

Table 8: Organic Arsenic and Inorganic Arsenic Levels Measured in Competitor Dog Foods by
Eurofins Lab.

                  Diet Tested               Organic Arsenic          Inorganic Arsenic
                                             ppm (mg/kg)               ppm (mg/kg)

         Orijen Six Fish                             2.82                   0.016

         Acana Freshwater Fish                    0.779                     0.010



                                              ***

        Table 9 below shows that the highest levels of arsenic and lead found in the testing of
Wellness products relied upon by Plaintiff are far below the NRC/FDA MTLs and EU maximum
limits, and thus are safe levels.

Table 9: Comparison of Highest Levels in Plaintiff’s Test Results to FDA/EU Limits.


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         Diet and           Level       NRC/FDA Percentage           EU Levels in     Percentage
        Heavy Metal        Reported       MTL    of MTL               Directive         of EU
          Tested            (ppm)        (ppm)                       2002/32/EC         Level
                                                                       (ppm)
           Arsenic          1.51212        12.513        12.0%           10              15.1%

         Wellness
      Complete Health
      Grain Free Adult
        Whitefish &
      Menhaden Fish
       Meal Recipe

            Lead              .310           10           3.1%              5            6.2%

       Wellness Core
      Ocean Whitefish,
      Herring Meal &
       Salmon Meal
          Recipe


        The above dietary guidelines for arsenic and lead are specifically tailored to animals and
pet foods. As noted in section 10b above, the FDA specifically faulted one study for using human
health-based benchmarks to assess the significance of low concentrations of metals in pet foods
rather than those established by the MTSA Committee. Thus, when specific guidelines are
available for pets, human health-based benchmarks should not be used.

        FDA’s guidelines for humans are inapplicable to fish-containing pet foods for another
reason: FDA’s focus is on inorganic arsenic, the kind not generally found in fish. FDA has set
arsenic limits for human food only as to inorganic arsenic, and even then, only for infant rice cereal
and apple juice. See Guidance for Industry: Action Level for Inorganic Arsenic in Rice Cereals for
Infants (August 2020), https://www.fda.gov/media/97234/download; Draft Guidance for Industry,
Arsenic in Apple Juice: Action Level (July 2013), https://www.fda.gov/media/86110/download.
FDA has determined that a limit of 100 ppb of inorganic arsenic for infant rice cereal and 10 ppb
for single-strength (ready to drink) apple juice is achievable with good manufacturing practices
based on sampling and testing of marketed products. Although FDA has set a limit for total arsenic
in bottled water at 10 ppb (the same amount allowed by EPA for public drinking water), the



12
   This level was reported by Ellipse Analytics. The arsenic level reported by Iowa State University
Veterinary Diagnostic Laboratory for this Wellness product was 0.620 ppm. Pusillo Rep.,
Appendix B.
13
   For an increased safety margin, I have used the more conservative MTL of 12.5 ppm applicable
to rats, which have a known increased sensitivity to arsenic. The MTL NRC established for
mammals is 30 ppm.
                                                    14
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primary forms of arsenic found in water are inorganic (https://www.epa.gov/ground-water-and-
drinking-water/national-primary-drinking-water-regulations#Inorganic).

                                                ***

        In his report on behalf of the Plaintiff, Dr. Pusillo consistently disregards basic tenets of
toxicology, including that there are exposure thresholds below which adverse health effects are
not expected to occur. Scientifically sound chemical safety testing requires well-designed dosing
studies using laboratory animals to establish thresholds such as the no observable adverse effect
level (NOAEL) and lowest observable adverse effect level (LOAEL) for chemicals. Experts then
develop health-based parameters using this information and apply significant safety factors to set
safe exposure limits. Thus, it simply is incorrect to state categorically that there are no safe levels
of exposure to arsenic and lead.

        The ability to detect a chemical at low concentrations does not translate into an increased
risk of an adverse health effect. What is critical is to be able to detect a chemical near a regulatory
or health-based threshold, not at a concentration an order of magnitude greater than or below the
threshold. Likewise, human health-based thresholds cannot automatically be applied to other
species. In fact, human health-based thresholds use safety factors (e.g., 10X or 100X) when
extrapolating animal derived toxicity data to human threshold values.

        Dr. Pusillo improperly concludes that arsenic and lead harm the health of dogs without
having considered factors such as the degree of exposure, the form of metal to which dogs are
exposed (e.g., organic vs. inorganic forms of arsenic), animal-specific regulatory limits established
by experts and regulatory bodies, and in the absence of peer-reviewed literature suggesting that
lead and arsenic in pet food is the cause of illness of dogs. Notably, the FDA study Dr. Pusillo
cites and attaches to his report (CVM CY15-17 Report on Heavy Metals in Animal Food, 2019),
directly contradicts the conclusion that at commonly detected concentrations of arsenic and lead
in animal feeds/foods there is a health risk to animals.

        Similarly, Dr. Pusillo’s belief that alterations of the gut microbiome are associated with
adverse health effects is speculative and based on insufficient evidence, as the authors of the study
he relies on (Breton et al. (2013)) concede. Breton and colleagues concluded that “further studies
are needed to understand the complex crosstalk between gut microbiota and the host, interpret the
clinical consequences of exposure to xenobiotics and assess the relationship between the
environment and disease susceptibility.” Several recent reviews of our current understanding of
the role of the gut microbiome on health and disease in people and animals illustrate the promise
of increasing our knowledge in this area through well-designed studies, but also the challenges in
interpreting data from this emerging area of scientific inquiry (Benson, 2016; Cullen et al., 2020;
Qian and Ho, 2020). It is premature to draw any “cause and effect” conclusions from early, single
studies that have not been duplicated.14



14
  Although Dr. Pusillo also states that arsenic and lead provide no nutritional value, he presents
no evidence that the low concentrations detected in pet foods have any effect on the overall
nutritional quality of the pet food.
                                                  15
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  11. BISPHENOL-A (BPA):

       Bisphenol-A (BPA) is a chemical (a monomer) produced in large quantities for use
primarily in the production of polycarbonate plastics and epoxy resins. Polycarbonate plastics have
many applications, including use in some food and drink packaging (e.g., water and infant bottles,
compact discs, impact-resistant safety equipment, and medical devices). Epoxy resins are used as
lacquers to coat metal products such as food cans, bottle tops, and water supply pipes.

         The primary source of exposure to BPA for most people is through the diet.
(https://www.niehs.nih.gov/health/topics/agents/sya-bpa/index.cfm). Bisphenol A can leach into
food from the protective internal epoxy resin coatings of canned foods and from consumer
products such as polycarbonate tableware, food storage containers, water bottles, and baby bottles.
However, BPA is also present in our air, dust, and water. For example, Rudel et. al (2001) tested
residential and office dust samples, as well as air samples, through gas chromatography/mass
spectrometry. The study reported an average concentration of 0.38 µg/g (380 ppb) of BPA in dust
samples, and BPA levels ranging from 0.002-0.208 µg/m3 in air samples. Given BPA’s ubiquitous
presence in our environment, humans and animals are exposed to BPA daily through a variety of
pathways.

  12. SCIENTIFIC LITERATURE AND STUDIES ON BPA:

        Because of the ubiquitous presence of BPA in our environment, it is nearly certain that
BPA is present in most food products. Several studies in peer-reviewed scientific literature have
examined the concentrations of BPA in human and pet foods. The potential health effects of BPA
exposure have been extensively studied in a variety of laboratory animal species and the
significance of the findings considered by numerous agencies and expert bodies. For example,
Camacho et al., (2019) assessed the results of an FDA-sponsored two-year toxicology study of
BPA in laboratory rodents. The authors concluded that existing human health-based guidelines are
adequate and that adverse health effects of BPA “at the lower end of the dose range tested have
not demonstrated a consistent interpretable pattern with biological plausibility.”

       a. BPA in Human Foods

      BPA is commonly found in human foods. Noonan et al. (2011) measured BPA in 78 canned
and two frozen food samples representing 16 different food types that are frequently consumed.
BPA was detected in 71 of the 78 canned foods but not detected in the frozen food samples.
Concentrations in the canned foods ranged from 2.6 to 730 µg/kg (2.6 to 730 ppb).

       BPA is even found in breast milk and the dairy supply chain. Mercogliano and Santonicola
(2018) showed that human breast milk and commercial milk samples contain BPA at
concentrations up to 87.7 µg/L (87.7 ppb) and 521 µg/L (521 ppb), respectively.

       b. BPA in Pet Foods and Pet Products

       Other studies have measured BPA concentrations in canned pet foods. Kang and Kondo
(2002) found BPA concentrations in pet foods that ranged from 13 to 136 µg/kg in cat food (N =
15) and 11 to 206 µg/kg in dog food (N=11). Koestrel et al. (2017) measured BPA concentrations

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in serum samples in dogs (N=14) fed one of two canned dog foods. The mean concentrations
measured in the pet foods were 11.8 +/- 4.3 µg/kg for diet A and 18 +/- 3.6 µg/kg for diet B.
Measurable differences in BPA serum concentrations were noted between the baseline diet (dry
dog food in bags) and an experimental diet (A or B) fed for two weeks (0.7 +/- 0.15 µg/kg vs. 2.2
+/- 0.15 µg/kg). While the authors noted changes in plasma bicarbonate concentrations and fecal
bacterial species from baseline values, no adverse health effects were observed. While the authors
did note some gut microbiome changes over the two-week course of the study, they could not
conclude that the noted changes were due to BPA since it was equally plausible that changes could
have been due simply to dietary changes.

        Wooten and Smith (2013) determined the potential exposure of dogs to BPA (and
phthalates) via canine toys and training devices using an in vitro system. Study results confirmed
that toys and training devices are potential sources of exposure to both BPA and phthalates.
However, no conclusions related to the risk of adverse health effects to dogs were provided.

         c. Studies on the Effects of BPA on Animals

        While most BPA toxicity studies use rodents (i.e., rats or mice) to derive no observable
adverse effect levels (NOAELs), according to the FDA’s 2008 Draft Assessment of Bisphenol A
for Use in Food Contact Applications, Wazeter and Goldenthal (1976) conducted a sub-chronic
study on BPA using Beagle dogs to assess oral toxicity of the chemical. This study was not
published in the peer-reviewed literature and complete details are not available. However,
according to the FDA, it was a 90-day dietary study at dose levels of 0, 1000, 3000 or 9000 ppm
in the diet (0, 25, 75 or 225 mg/kg per day). The only potentially adverse effect noted was an
increase in relative liver weight at the highest dose level (an increased liver weight is not always
considered an adverse effect), according to the FDA. Tissues from dogs receiving 9000 ppm (225
mg/kg per day) of BPA in the diet were examined histopathologically and no treatment-related
effects were noted. The NOAEL in this study was determined to be 74 mg/kg/ bw (body weight)
per day, or 74,000 µg/kg/ bw per day.

         d. BPA Concentrations in the Wellness Dog Foods

        Ellipse Analytics tested select WellPet Dog foods for BPA. BPA was detected at 174.4 ppb
and 132.7 ppb in samples of Wellness Complete Health Adult Whitefish and Sweet Potato and
Wellness Core Ocean (Whitefish, Herring and Salmon Meal Recipe), respectively. According to
the testing records provided by Ellipse, the lab tested at least three samples of each product. The
BPA amounts identified for the other two samples of Sweet Potato were 55 ppb and “ND” (not
detected). The BPA amounts for the other two samples of CORE Ocean were 58.5 ppb and ND.15
Neither Dr. Pusillo nor Dr. Callan referenced these lower amounts in their reports.

     13. BPA EXPOSURE ASSESSMENT

      Based upon the limited toxicity information specific to dogs, exposure to BPA from the
Wellness dog food formulations is minimal and would not have an adverse health effect. For the

15
     See CALLAN000079, 000090, 000179, 000188.
                                                17
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sake of argument, even a much lower NOAEL of 5000 |ag/kg/day (5 mg/kg/day) derived from
well-designed rodent studies (https://www.fda.gov/media/90124/download) would not be
expected to cause an adverse effect. Taking the highest BPA concentration reported by Plaintiff of
174.4 ppb and following label directions on the recommended amount of that product for daily
feeding (recommended number of cups of kibble at 120 grams of kibble per cup for a given weight
range), one can calculate a daily BPA intake.16 Because of increased food intake in smaller dogs
due to increased metabolic demand, calculating a daily intake for a small dog is a conservative
approach to exposure assessment. For example, a 15 lb. (6.82 kg) dog eating Wellness Complete
Health Adult Whitefish and Sweet Potato would consume 1 cup or 120 grams of kibble per day.
The 120 grams of kibble would contain 20.9 pg of BPA17 and the daily dose of BPA would be
3.06 g/kg/bw of BPA. This would be 0.061% of the 5000 pg/kg/day NOAEL. For a 125 lb. dog
(56.8 kg), 640 grams of kibble (the maximum daily amount recommended) would contain 111.62
pg of BPA, resulting in a daily BPA dose of 1.97 pg/kg/bw, or approximately 2/3 the dose of the
smaller dog. This value is only 0.04% of the NOAEL. Using an uncertainty factor of 10 for
extrapolating from one species (rodent/mice) to dogs still provides a large margin of safety (0.61%
and 0.40% of the NOAEL).18

        Dr. Pusillo does not identify any studies showing that these extremely low levels of BPA
are harmful to dogs. As with arsenic and lead, he fails to apply basic toxicology principles of dose
and duration and disregards exposure thresholds. Instead, Dr. Pusillo again focuses on studies that
identified certain changes in the gut microbiome in dogs (Koestel et al. (2016)). Although it is true
that serum BPA concentrations increased over the 14-day feeding study and qualitative changes
were noted in gut bacteria, Koestel and colleagues could not conclude that the changes in gut
bacteria were due to BPA or were even harmful to health. It is just as likely that differences were
merely due to a change in diet (the two diets fed for the 14 days were different and both differed
from the pre-study diet). In addition, changes in several clinical parameters that were statistically
correlated with BPA serum concentrations still fell within normal ranges for dogs (i.e., the changes
could not be considered adverse effects). As stated earlier, the role that the gut microbiome plays
in human and animal health is an emerging area of scientific study whose significance is still not
yet understood.

Dated: September 10, 2020




                                              Robert Poppenga, DVM, PhD, DABVT



16 For purposes of this calculation, I’m assuming that the amount of BPA throughout the bag of
dog food remains constant at 174.4 ppb, the same amount reported for the highest sample tested.
As the other two samples for this same product show, however, the amounts of BPA in other
portions of the bag may be considerably lower or even below detectable limits. Thus, using 174.4
ppb is a conservative approach to exposure assessment.
17 This is calculated as follows: 174.4 pg/kg equals 0.1744 pg per gram, and 0.1744 multiplied by
120 equals 20.9.
18 This percentage equates to about 4 to 6 out of 10,000.
                                                 18
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             EXHIBIT A




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                                 CURRICULUM VITAE
                                     Revised June, 2020


                                            Name

Robert H. Poppenga, D.V.M., Ph.D.
Diplomate, American Board of Veterinary Toxicology


                                    Contact Information

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                                         Education

1971 to 1974: Western Illinois University, Macomb, IL. No degree earned prior to acceptance
              to veterinary school.

1974 to 1978: University of Illinois at Urbana-Champaign, IL, College of Veterinary Medicine,
              D.V.M.

1982 to 1985: University of Illinois at Urbana-Champaign, IL, College of Veterinary Medicine,
              Veterinary Toxicology Residency

1982 to 1987: University of Illinois at Urbana-Champaign, IL, College of Veterinary Medicine,
              Ph.D.

              Dissertation: Effect of Therapeutic Intervention on Pathophysiology, Pathology,
              and Survival in Rats and Swine Following Acute Intravenous Exposure to T-2
              Toxin.
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                            Chronology of Academic Employment

2005 to Present:      Professor of Clinical Veterinary Toxicology, Step 6, University of
                      California at Davis, School of Veterinary Medicine, Department of
                      Molecular Biosciences and Head, Toxicology Section, California Animal
                      Health and Food Safety Laboratory (CAHFS).

As Head of the Toxicology Section of CAHFS, I directly or indirectly supervise 13 FTEs. I am
responsible for establishing Section policy and strategic goals and overseeing the evaluation of
all Section staff with the exception of one faculty veterinary toxicologist. The annual state
budget for the Section is approximately $1,200,000. The Section has also been an important
participant in the FDA/USDA’s Food Emergency Response Network (FERN) and is the only
veterinary laboratory funded as part of the program. I have been responsible for extramural
support for the Section of approximately $2,600,000 in monetary support and $1,200,000 in
equipment support since 2005 (via the FERN program). During my tenure as Section Head, the
Laboratory has also received approximately $700,000 in CA Homeland Security funding. The
CAHFS Toxicology Section is the premier diagnostic toxicology laboratory in North America
and provides services unavailable elsewhere. Our veterinary toxicology residency program is
one of only 2 or 3 programs of its type in North America. Although our focus is on animal
diagnostic and forensic toxicology, we are frequently called on to assist with human forensic
investigations.

2005:          Professor of Toxicology, Clinician-Educator Track, University of Pennsylvania,
               School of Veterinary Medicine, Department of Pathobiology and Chief,
               Pennsylvania Animal Disease Laboratory System at New Bolton Center’s
               Toxicology Laboratory.

1998 to 2004: Associate Professor of Toxicology, Clinician-Educator Track, University of
              Pennsylvania, School of Veterinary Medicine, Department of Pathobiology and
              Chief, Pennsylvania Animal Disease Laboratory System at New Bolton Center’s
              Toxicology Laboratory.

1993 to 1997: Assistant Professor of Toxicology, Clinician-Educator Track, University of
              Pennsylvania, School of Veterinary Medicine, Department of Pathobiology and
              Chief, Pennsylvania Animal Disease Laboratory System at New Bolton Center’s
              Toxicology Laboratory.

At the University of Pennsylvania, I was responsible for establishing a diagnostic toxicology
laboratory service where one had not existed before as part of the Pennsylvania Animal Health
Laboratory System. I supervised 3 FTEs and managed an annual budget of approximately
$400,000.

1987 to 1993: Assistant Professor, Michigan State University, College of Veterinary Medicine;
              joint appointment in the Department of Pharmacology and Toxicology (1987 to
              1991), the Department of Pathology (1991 to 1993) and the Animal Health
              Diagnostic Laboratory.



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                                 Other Relevant Employment

Following receipt of my D.V.M. degree in 1978, I was engaged in small animal private
veterinary practice in the St. Louis, MO and Springfield, IL areas until 1982 when I returned to
the University of Illinois to purse a Ph.D. in veterinary toxicology.


                                     Statement of Interest

My current focus is veterinary clinical and diagnostic toxicology. Areas of interest within
clinical and diagnostic toxicology include wildlife toxicology, development of biomarkers of
exposure to environmental contaminants and, more recently, issues related to the safety of foods
and feeds (both human and animal) from a chemical contamination perspective. In addition to
my involvement in the Food Emergency and Response Network (FDA-USDA program), my
laboratory is an active participant in the Veterinary Laboratory Response Network (FDA
program).


                                      Awards and Honors

1972 Alpha Zeta: agricultural scholastic honorary
1972 Phi Kappa Phi: scholastic honorary
1985 Phi Zeta: veterinary scholastic honorar2013 American Board of Veterinary Toxicology
Service Award



                             Licensure and Specialty Certification

Illinois Veterinary Medical License (Inactive)
Missouri Veterinary Medical License (Inactive)
Michigan Veterinary Medical License (Current)
Diplomate, American Board of Veterinary Toxicologists, 1988


                       External Academic and Administrative Services

2017-2019:            Morris Animal Foundation, Golden Retriever Lifetime Study, Scientific
                      Steering Committee
2016 – Current:       Organizing Committee for the CA Center for Parks and Protected Areas
                      Leadership
2016 – 2018:          National Water Research Institute, Independent Advisory Panel for the CA
                      State Water Resources Control Board to Determine Potential Risks of
                      Using Tertiary Recycled Water for Consumption by Animals
2016 – Current:       Morris Animal Foundation Grant Review (Wildlife)



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2001 – 2004:          Adjunct Appointment, Cornell University, School of Veterinary
                      Medicine (teaching veterinary toxicology)
2002 – 2004:          Veterinary Consultant, Children’s Hospital of Philadelphia, Poison
                      Control Center
1990 – 1992 and
2002 – 2006:          Participating faculty member for "Envirovet", an intensive summer short
                      course for veterinary students interested in environmental toxicology and
                      aquatic animal medicine with an emphasis on aquatic ecosystems.
1998 to 2003:         PADLS Resident Director’s Monthly Meeting, Penn-NBC representative.
1999:                 PADLS Fall Diagnostic Conference at NBC, Organizer and Moderator.


                        Internal Academic and Administrative Service

Michigan State University – list available upon request.

University of Pennsylvania

1994 – 1996:          AV Committee
1996 – 1997:          Committee on Committees
1996 – 1998:          Secretary of the Faculty
1999 – 2002:          Admissions Committee
1996 – 2005:          Farm Show Committee (Chair, 2002)
2002:                 Interim Judicial Inquiry Officer
2002 – 2005:          Judicial Inquiry Officer

University of California at Davis

2006 – 2009: School of Veterinary Medicine: Faculty Personnel Committee

2004 – Current: California Animal Health and Food Safety Laboratory System: Section Head,
Toxicology Laboratory; Process Improvement Council

2005 - 2008: SVM Curriculum Review Steering Committee (comprehensive review of the SVM
veterinary curriculum and formulation of revisions)

2008: Admissions Committee, Master’s of Preventive Veterinary Medicine Program, SVM

2010-2012: PTX Graduate Group, Admissions Committee, UCD

2013: SVM Teaching Effort and Recognition Task Force, School of Veterinary Medicine

2013 – Current: Forensic Science Graduate Group, Admissions Committee, UCD

2014 – Current: California Department of Food and Agriculture, Feed Inspection Program,
Technical Advisory Sub-Committee



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2012 - 2015: FDA Center for Veterinary Medicine, Office of Minor Use and Minor Species,
Grant Review Panel

2014 – Current: Oiled Wildlife Care Network, Scientific Advisory Committee, School of
Veterinary Medicine

2015 –2016: Strategic Admissions Advisory Committee, School of Veterinary Medicine

2015 – 2018: International Program Committee, School of Veterinary Medicine (appointed
Chair in 2016)

2018-Current: Curriculum Committee, School of Veterinary Medicine.

                                     Editorial Positions

1999 to 2011:        Editorial Board – Journal of Veterinary Diagnostic Investigation

2001 to 2005:        Editorial Board – Oriental Pharmacy and Experimental Medicine

2005 to 2012:        Editorial Board – Journal of Medical Toxicology, Section Editor
                     for Veterinary Toxicology

Ad hoc reviewer for: Toxicon, Journal of Regulatory Toxicology, Journal of Natural Products,
                     Standards of Care, Journal of Zoo and Wildlife Medicine, Equine
                     Veterinary Journal, Critical Reviews in Toxicology, Journal of Wildlife
                     Diseases, Human Ecology, Environmental Toxicology, Journal of
                     Veterinary Emergency and Critical Care, Journal of Emergency Medicine,
                     Australian Veterinary Journal

Invited Reviews:     U.S. Pharmacopeia, Veterinary Pharmaceutical Information, review of a
                     monograph for methylene blue.

                     National Research Council, Board on Agriculture and Natural Resources,
                     review of the report entitled Safety of Dietary Supplements for Horses,
                     Dogs and Cats (2008).

                    Memberships in Professional and Scientific Societies

American Board of Veterinary Toxicology

       1993-1999:           Secretary - Treasurer
       1999–2003:           President
       2006-2009:           Examination Committee (Chair, 2009)
       2005-2009:           Long Range Planning Committee




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       2007-2009:           ABVT representative to the Council on Agricultural
                            Science and Technology
       2019 – Current       Education Committee, Chair

American Academy of Veterinary and Comparative Toxicology

       1995-1998:           AAVLD/AAVCT Veterinary Analytical Toxicology Advisory
                            Committee
       1999-2002:           Councilor
       2007-2009:           AAVCT representative to the Council on Agricultural
                            Science and Technology

American Academy of Clinical Toxicology

American Association of Veterinary Laboratory Diagnosticians

       1995 and 2001:       Co-Moderator, Toxicology Scientific Session, Annual Meeting
       2000 to 2005:        PA Alternate Delegate – House of Delegates
       2002 to 2003:        Long Range Planning Committee
       2006 - Current:      Executive Committee
       2010 – Current       Committee on Environment and Toxicology

                            Proficiency Test Subcommittee (2010 – current)
                            Mission Statement Subcommittee (2010-2011)

American Veterinary Medical Association

       2008 - 2104:         Member, Committee on Environmental Issues (CEI)
       2010 – 2012:         CEI Subcommittee on Waste Disposal
       2012 – 2014:         Chair, CEI
       2010:                National Hazardous Waste Product Database Task Force

International Assembly for the Recognition of Toxicologists (IART)

       2002 – 2005:         Secretary – Treasurer

Council on Agricultural Science and Technology

       2006-2009:           Animal Science Work Group
       2007-2008            Chair, Animal Science Work Group
       2008-2009            National Concerns Committee

Sierra Nevada Fisher Working Group (SNFWG)

       2012 – Current:      Member
       2012 – Current:      Anticoagulant Rodenticide Subcommittee



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Society of Environmental Toxicology and Chemistry

Society of Toxicologic Pathologists (currently inactive)

        1999-2001:             Membership Committee

Society of Toxicology

        1997 to present:       Veterinary Specialty Section
        1997-1999:             Veterinary Specialty Section - Councilor for Membership

The International Association of Forensic Toxicologists (currently inactive)

Veterinary Emergency and Critical Care Society (currently inactive)


                                   Other Relevant Experience

1982-1987:              Staff veterinarian for the Toxicology Hotline of the National
                        Animal Poison Control Center, University of Illinois, College of
                        Veterinary Medicine.

1987-1993:              Affiliated with the Institute for Environmental Toxicology,
                        Michigan State University.

1991; 1992:             Participating faculty member for "Safety of Foods of Animal
                        Origin" - summer short course at Michigan State University.

2016:                   Member, Physicians Dialogue Group, Monsanto, Creve Coeur, MO

Currently               Affiliated with the Wildlife Health Center, UC-Davis

Currently               Member of the Lead Advisory Group, Humane Society of the United
                        States

Currently               Member, CA Department of Food and Agriculture Livestock Feed
                        Taskforce


                  Residents, Graduate Students and Post-Doctoral Fellows

Michigan State University – list available upon request.

University of Pennsylvania




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1998 – 1999           Sponsor of Merck Summer Fellowship Student: Patricia Alexander
2004                  Sponsor of Merck Summer Fellowship Student and Geraldine R. Dodge
                      Foundation Applicant: Sara Rybolt

University of California at Davis

2005 - 2008                   Toxicology Resident: Dr. Asheesh Tiwary
2006 - 2007                   M.S. Candidate: Taylor Ludwick
2007 - 2008                   Toxicology Resident: Dr. Bimal Chhetri
2008 - 2010                   Toxicology Resident: Dr. Motoko Mukai
2008 - 2011                   Ph.D. Candidate: Terra Kelly
2010 - 2012                   Toxicology Resident: Dr. Snehal Tawde
2012 - 2014                   Toxicology Resident: Dr. Adrienne Bautista
2015 - 2017                   Toxicology Resident: Dr. Arya Sobhakumari

Serve as mentor to UC-Davis Medical Center Toxicology Fellows who participate in a 2 week
rotation through the Toxicology Section of CAFHS.


                                      Research Support

Previous:

Food and Drug Administration ($1,600,000): The use of LC/MS, GC/MS and ICP/MS analysis
for the screening and identification of toxic substances in food with an emphasis on animal and
grain derived foods and food products, PI, 2005-2010.

Food and Drug Administration ($1,600,000): The use of LC/MS, GC/MS and ICP/MS analysis
for the screening and identification of toxic substances in food with an emphasis on animal and
grain derived foods and food products, PI, 2011-2015.

Central Valley Project Conservation Program ($386,218): Implementation of Priority 1, Priority
2, and Priority 3 Recovery Tasks for Giant Garter Snake (Thamnophis gigas) – Pathology and
the role of water quality and contaminants in the distribution, health, and persistence of San
Joaquin Valley and Sacramento Valley giant garter snake populations, Co-PI, 2008-2009.

Michigan State University CVM Endowed Research Fund ($24,991): Effect of sorbitol, single, and
multi-dose activated charcoal administration on carprofen absorption following experimental
overdose in dogs. Co-I, 2009-2010.

Dairy Research Foundation ($90,000): Food Animal/Food Safety Residency Program at CAHFS.
Co-PI, 2012-2013.

Central Valley Project Conservation Program ($358,104): Volta Giant Garter Snake Monitoring
Project. Co-PI, 2010-2013.




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FDA, Center for Veterinary Medicine ($23,701): Historical database of animal feed or drug
toxicities. PI, 2011-2012.

Center for Equine Health, ($27,526): Study of Causes and Diagnosis of Sudden Death in
Racehorses, Co-Investigator (Uzal, F., PI).

Current:

Food and Drug Administration ($1,600,000): The use of LC/MS, GC/MS and ICP/MS analysis
for the screening and identification of toxic substances in food with an emphasis on animal and
grain derived foods and food products, PI, 2015-2019.

Submitted: Unfunded

Morris Animal Foundation Pre-Proposal ($78,778): Systemic osteoporosis induced by
environmental exposure to silica dioxide, 2007. Co-I.

TSR&TP New Investigator Grant ($97,967): Environmental contamination and mortality in
threatened wildlife due to anticoagulant rodenticides, 2007. Co-I.

TSR&TP New Investigator Grant ( $202,858): Linking hunting activities to lead exposure and
toxicosis in sentinel avian scavenging species. 2008. Co-I.

TSR&TP New Investigator Grant ($79,965): Environmental contamination and mortality in
vulnerable bird species due to anticoagulant rodenticides. 2008. Co-I.

TST&TP Student Grant ($60,000): Effects on wild carnivores of bio-accumulating anticoagulant
rodenticides. 2008. Collaborator.


                        Scientific Presentations and Invited Lectures

"Lead and Lead Residues." Michigan Department of Agriculture, Animal Industry Division
Meeting, February, 1993.

"Lead Toxicosis in Loons." 58th North American Wildlife and Natural Resources Conference,
Washington, D.C., March, 1993. Also, I was an invited participant in a panel discussion of the
hazard of lead sinkers to loons.

"Bioavailability of Lead from Site-Specific Mining Waste: An Oral Intubation Study in Young
Swine", UC-Davis, Department of Pharmacology and Toxicology, October, 1991.

"Methods for Investigating Suspected Forage-Related Animal Mycotoxicoses", 12th Annual
Food Safety Research Program Planning Workshop, sponsored by ARS and FSIS of the USDA,
Washington, D.C., December, 1991.




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“A Metal Here, A Metal There: So What’s the Problem?” Institute for Environmental Studies,
University of Pennsylvania, Philadelphia, PA, April, 1996.

“Diagnostic Veterinary Toxicology: From Farm to Ecosystem.” School of Veterinary Medicine,
Helsinki, Finland, June, 1998.

“Gastrointestinal Decontamination in the Horse.” ACVIM Forum, Seattle, WA, May, 2000.

“Approaches to the Measurement of Glomerular Filtration Rate”, American Association of
Clinical Chemistry, Division of Animal Clinical Chemistry, LabMed 2000, New York, NY,
October, 2000.

“The One Medicine Concept: Application to Human and Veterinary Toxicology.” Keynote
Speaker, 23rd Annual Meeting of the Japanese Society of Clinical Toxicology, Tokyo, Japan,
June, 2001.

“Current Issues in Small Animal Toxicology” and “Managing the Suspect Poisoned Patient:
Current Approaches to Gastrointestinal Decontamination.” Azabu University, School of
Veterinary Medicine, Tokyo, Japan, June, 2001.

“The One Medicine Concept: Applications in Veterinary and Human Clinical Toxicology. 13th
Ljudevit International Symposium on Comparative Pathology, Zagreb, Croatia, June, 2002.
(Abstract published in Acta Clinica Croatica 41(2):157-158, 2002.

“Chemical Agents and the Safety of the Food Supply”, Montgomery County Health Department
Veterinary Initiative Project, Plymouth Meeting, PA, January, 2004.

"Toxicology Laboratory Update: FERN and CAHFS", Annual Meeting of the Ca Department of
Food and Agriculture Milk Inspectors, Sacramento, CA, 2006.

“Amanitin Intoxication: Pathogenesis and Diagnostic Challenges”, 60th Annual Meeting of the
American College of Veterinary Pathologists, Monterey, CA, December, 2009.

“A Whirlwind Tour of Veterinary Toxicology: A Zoological Facility Focus”, 18th Annual Zoo
and Wildlife Pathology Workshop, American Association of Zoo Veterinarians, Kansas City,
MO, October, 2011.

“When Emergency and Critical Care Medicine Meets Toxicology: Case Management Strategies
Part 1”, AVMA Annual Convention, Chicago, IL, July 2013.

“When Emergency and Critical Care Medicine Meets Toxicology: Case Management Strategies
Part 2”, AVMA Annual Convention, Chicago, IL, July 2013.

“Wildlife Toxicology From a Diagnostic Laboratory Perspective”, Western University of the
Health Sciences, School of Veterinary Medicine, Pomona, CA, Sept. 2013.




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“Interesting Wildlife Toxicology Cases from the CAHFS’ Archives”, Western University of the
Health Sciences, School of Veterinary Medicine, Pomona, CA, Sept. 2013.

“Veterinary Diagnostic Toxicology on the Front Lines of Animal and Human Health”, Penn
State Huck Institutes of the Life Sciences, University Park, PA, April, 2016.

“Veterinary Toxicology in a One Health Context”, University of Illinois, College of Veterinary
Medicine Fall Conference, Urbana, IL, October, 2018.

“Plants Poisonous to Livestock”, UCD School of Veterinary Medicine, Winter Conference for
Veterinarians, Davis, CA, March, 2019.


                                            Teaching

Michigan State University – list available upon request.

University of Pennsylvania – Veterinary School

       VANB 607       Pharmacology and Toxicology (2nd Year)
                      I taught the toxicology portion of the course.
                      19 Lecture Hours
                      4 Laboratory Hours
                      Arrange guest lecturer for 2 Hours

       VPTH 601       Large Animal Pathology (3rd Year)
                      2 Lecture Hours
                      14 Laboratory Hours

       VCSN 770       Large Animal Medicine (3rd Year)
                      2 Lecture Hours

       VPTH 633       Ecotoxicology for Veterinarians (3rd Year)
                      Course Originator and Moderator: unique course offering students the
                      opportunity to obtain an overview of ecosystem health and the role that
                      environmental contaminants play in wildlife disease.
                      16 Contact Hours: Lecture, Guest Lecturers, Student Presenations.

       VCSP 634       Perspectives on Complementary and Alternative Medicine (3rd Year)
                      Course Originator and Moderator: overview of complementary and
                      alternative medicine from an evidence-based viewpoint.
                      16 Contact Hours: Lecture, Guest Lecturers, Student Presenations.

       VCSN 636       Clinical Pharmacology (3rd Year)
                      1 Hour Lecture




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       VCSP 656       Introduction to Wildlife Medicine (1st Year)
                      1 Hour Lecture

       VCSN 882       Food Safety and Quality Assurance (4th Year)
                      Co-organized the course with Drs. Bensen and Habecker. Unique learning
                      experience for veterinary students emphasizing the role that veterinarians
                      can play in food safety.
                      1 Hour Lecture
                      Arrange visits from experts within the PA Department of Agriculture and
                      the FDA’s Center for Veterinary Medicine.

       VCSP632        Diagnosis of Common Intoxications
                      Moderator for the course during sabbatical leave of another faculty
                      member – 1999.

       Other:

                Harcum Student Lecture, 1998, 2001, 2002
                Intern Seminar – VHUP, 2000, 2001, 2002, 2003
                Resident Seminar – VHUP, 2000; NBC, 2004
                Special Species Symposium, 2000, 2001, 2004
                Institute of Environmental Studies Lecture, November, 2000
                Hoof Camp, NBC Program for Food Animal Students, June, 2002, 2003

University of California at Davis

       VMB-414C       Veterinary Toxicology (2nd year)
                      6-8 Lecture Hours
                      Plant Laboratory

       Freshman Undergraduate Seminar CRN 53615 Career Opportunities for Veterinarians
                   1 Lecture Hour- Research Careers in Veterinary Medicine (academic years
                   06-07 and 07-08)

       VMD-480        Small Animal Toxicology (3rd year)
                      15 Lecture Hours – Case-based discussion in collaboration with the
                      School’s Critical and Emergency Care Service faculty.

       PMI-283        Comparative Avian Anatomy and Pathology (3rd year)
                      1 Lecture Hour – Avian Toxicology (academic years 06-07 and 07-08)

       PHR-225        Preventive Avian Medical Practice (3rd year)
                      1 Lecture Hour – Avian Toxicology (academic year 06-07)

       VME-298        Emerging Issues in Ecosystem Health (mix of students
                      1 Lecture Hour and 1 Discussion Hour – Ecotoxicology (2007 to present)



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       VET406         Pharmacology/Nutrition/Toxicology Block Lecturer, 1st year veterinary
                      students

       VET433C:       Small Animal Stream III, Block Co-Leader and Block Lecturer, 3rd year
                      veterinary students

       VET435B:       Livestock Stream, 3rd year veterinary students

       ETX/FST 128: Food Toxicology, Undergraduate/Graduate.

       Medical Toxicology Fellowship Program, CAHFS Toxicology Section and UC-Davis
       Medical Center. On-going comparative toxicology and analytical toxicology training
       opportunity for MD Toxicology Fellows.

Teaching Aids

       Food and Agricultural Careers for Tomorrow, 100 Paths to Success - Toxicologist, career
       monograph, sponsored by the USDA

       Poisonous Plant CAL Website: comprehensive educational website that has been built
       over 3 years by CAL supported veterinary students. ~ 84,000 “hits” recorded.

                CAL Project Grant – 1997
                CAL Project Grant – 2000
                Toxicology Laboratory Support for CAL Student – 2001, 2002, 2003

       Groundbreaking for the NBC Teaching Garden – April 2003, collaborative project with
       the Chester County Master Gardeners Program.

       AAVCT Videodisc Project: compilation of images from veterinary toxicologists from
       throughout the US.

Professional Educational Presentations

"Small Companion Animal Toxicoses from Ingestion of Rodenticides." Southwestern Michigan
VMA, November, 1989.

"Small Animal Toxicology." Midstate Michigan VMA, March, 1990.

"Toxicology for the Small Animal Practitioner." Western Michigan VMA, April, 1990.

"Caged Bird Toxicology." Lansing Caged Bird Club, April, 1991.

"Feed Safety and Quality Assurance: Human and Livestock Health Concerns." Series of three
lectures presented to Michigan livestock feed manufacturers, July-August, 1991.



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"Veterinary Toxicology Laboratories: Getting the Biggest Bang for Your Buck." Michigan
Veterinary Conference, Lansing, MI, 1992.

"Mycotoxins." Michigan Department of Agriculture, Pesticide and Plant Pest Management
Division, in-service training conference, January, 1993.

"Mycotoxins: what's up doc?" Michigan Veterinary Conference, Lansing, MI, 1994.

"Equine Toxicology: Something Old and Something New." Michigan Veterinary Conference,
Lansing MI, 1994.

"Naturally-Occurring Toxins or Biotoxins." Brandywine VMA, Kennett Square, PA, 1994.

"Veterinary Toxicology Update." Penn-Allegheny VMA, Ebensburg, PA, 1994.

“Biotoxins of Veterinary Importance.” Bucks-Montgomery County VMA and Southern Poconos
VMA, October, 1994.

“Mycotoxins and Animal Health.” Pennsylvania Department of Agriculture Spring Plant
Industry Training Conference, Carlisle, PA, April, 1995.

“Toxicology in Critical Care Medicine.” Critical Care Section, School of Veterinary Medicine,
University of Pennsylvania, Philadelphia, PA, May, 1995.

“Plants Poisonous to Horses.” NBC Lay Lecture Series, November, 1996.

“Plants Poisonous to Sheep.” York County Cooperative Extension Service, Sheep Producers
Seminar Series, York, PA, March, 1997.

“Customers, Pets and Vets.” Annual Meeting of the Professional Lawn Care Association of
America, Nashville, TN, November, 1998.

“ Managing the Suspect Poisoned Patient: Perspectives of a Humble Veterinary Toxicologist on
Decontamination and Antidotal Treatments”, “Illicit drugs: If They’re Toxic Enough to Poison
People, They’re Toxic Enough to Poison Pets”, and “Do Herbal and Other Natural Products Pose
a Poisoning Risk to Animals? You Betcha They Do.” 6th International Veterinary Emergency
and Critical Care Symposium, San Antonio, TX, September, 1998.

“Molds and Toxins”. Grain Management Short Course, Bethlehem, PA, February, 1998.

“Customers, Pets and Vets.” Green Industry Professional Seminar, Annandale, VA, January,
2001.

“Perspectives on Veterinary Complementary and Alternative Medicine.” Canine Symposium,
School of Veterinary Medicine, University of Pennsylvania, Philadelphia, PA, January, 2001.



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“Overview of Veterinary Complementary and Alternative Medicine.” University of
Pennsylvania, School of Veterinary Medicine, Board of Overseers Meeting, New York, NY,
Spring, 2001.

“Mycotoxins from A to Z.” ACVIM Forum, Denver, CO, May, 2001.

“Pets, People and Pesticides.” Pennsylvania Area Health Education Center and the Pennsylvania
Department of Agriculture, Pesticide Inspector Workshop, Harrisburg, PA, May, 2001.

“Gastrointestinal Decontamination Procedures”, “Natural Toxicants”, “Illicit Drug Hazards” and
“Herbal Hazards”. Atlantic Coast Conference, Atlantic City, NJ, September 2001.

“Chemical Agroterrorism.” Special joint meeting of the House and Senate Agriculture
Committees of the PA House and Senate, Harrisburg, PA, November, 2001.

“Risks Associated with the Use of Natural Products”, “OTC and Prescription Drug
Intoxications”, “Mycotoxins: From A to Z”, “Nutritional Metal Analyses: Diagnostics and
Interpretation”, Chris Lawson Memorial CE Seminar, New Hampshire VMA, Windham, NH,
November, 2001.

“Chemical Agroterrorism.” Grand Rounds, Department of Clinical Studies – Philadelphia,
Philadelphia, PA, December, 2001.

“Chemical Agroterrorism.” 102nd Penn Annual Conference, Philadelphia, PA, January, 2002.

“My Pet’s Been Poisoned! A Phone Management Primer.” Veterinary Technician Program,
Western Veterinary Conference, Las Vegas, NV, March, 2002.

“Decontaminating and Detoxifying the Poisoned Patient”, “Toxic Household, Garden and
Ornamental Plants”, Toxicology of Herbal and Dietary Supplements”, and “Zootoxins.”
Western Veterinary Conference, Las Vegas, NV, March, 2002.

“Ricin and Botulinum Toxins”, PADLS Foreign Animal Disease Seminar Series, Sept., 2002.

“Evaluation and Management of the Suspect Poisoned Patient”, “OTC and Prescription Drug
Hazards”, “Herbal Hazards”, Kansas VMA, Manhattan, KS, June, 2003.

“Toxicologic Investigations”, “Chemical Agroterrorism”, American Veterinary Medical
Association, Denver, CO, July, 2003.

“Poisonous Plants of Veterinary Importance”, Penn State Chester County Master Gardeners
Program, West Chester, PA, January, 2004.

“Chemical Agroterrorism: Is Anyone Listening?”, Penn Annual Conference, Philadelphia, PA,
March, 2004.



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“To Test or Not To Test – That is the Question. If Yes, Are Screening Tests Useful?”, “Did
Pookey Eat That Again? Common and Uncommon Intoxications”, American Veterinary
Medical Association Annual Meeting, Minneapolis, MN, July, 2005.

“Affairs of the Heart: Toxicologic Differentials for Cardiovascular Signs”, “To Decontaminate
or Not To: What is the Evidence?”, “Mind Over Matter: Toxicologic Differentials for CNS
Signs”, “A One-Two Punch: Toxicologic Differentials for Hepatic and Renal Dysfunction”,
International Veterinary Emergency and Critical Care Society Annual Meeting, Atlanta, GA,
September, 2005.

“Toxicologic Hazards for Camelids”, CAL-ILA Annual General Meeting, March, 2006.

“Toxicologic Hazards for Camelids”, UC-Davis Alpaca Breeder and Veterinarian Symposium,
Davis, CA, January, 2007.

“What Veterinary Technicians Can Do to Help Veterinarians Deal With Animal Poisonings”,
“Decontaminating Poisoned Pets”, “Flora and Fauna: Hazardous Biotoxins for Pets”, “Pet Food
Recall: Perspectives from the Trenches”, “Running in Circles: Poisons Causing CNS
Stimulation”, “Effective Decontamination Strategies for Poisoned Horses” and “Chemical
Terrorism: The Role of the Large Animal Veterinarian”, Central Veterinary Conference, Kansas
City, MO, August, 2008.

“The Melamine and Cyanuric Acid Story: The Role of CAHFS”, UC Provost’s Agricultural and
Natural Resources Review Committee, Davis, CA, February, 2009.

“Veterinary Toxicology Potpourri”, VMTH Resident Seminar, Davis, CA, May, 2009

“The State of Diagnostic Veterinary Toxicology in the U.S.: Are We Prepared?”, CDFA Animal
Health Branch Statewide Meeting, Sacramento, CA, Sept. 2009.

“A Sustainable Formula for Delivering Quality Diagnostic Toxicology Services”,
AAVLD/NAHLN Laboratory Director’s Meeting, AAVLD Annual Meeting, San Diego, CA,
Oct. 2009.

“Poisonous Plants”, UC Sierra Foothill Research and Extension Center, Beef and Range Field
Day, April, 2011, Browns Valley, CA.

“Veterinary Pharmaceutical Risks to Human Health”, Western Toxicology Fellowship
Conference, UCD Medical Center, April, 2011, Sacramento, CA.

“Algal Biotoxins: An Emerging Global Health Threat to People and Animals”, American
Veterinary Medical Association Annual Meeting, July, 2012, San Diego, CA.

“Feline Toxicology”, Feline Medicine Club, School of Veterinary Medicine, UC-Davis, Davis,
CA, Jan. 2014.



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“Poison Proofing Your Home for Pets”, Explorit Science Center, Davis, CA, October, 2014.

“Malicious Poisoning of Pets: The Do’s and Don’ts of Case Investigation” Student Chapter,
Humane Society of the United States, Oregon School of Veterinary Medicine, Oregon State
University, Corvallis, OR, November, 2014.

“Toxicology Potpourri: Something Old and Something New”, North San Joaquin Veterinary
Medical Association, April, 2015.

“Algal Toxins: An Emerging Global Threat to Animals and People”, CVC, Washington D.C.,
April 23-26, 2015.

“Bromethalin and Beyond”, CVC, Washington D.C., April 23-26, 2015.

“Chemical Environmental Threats to Wildlife”, CVC, Washington D.C., April 23-26, 2015.

“Fat Can Be Good”, CVC, Washington D.C., April 23-26, 2015.

“Is There an Antidote in the House?”, CVC, Washington D.C., April 23-26, 2015.

“Toxicology Case Vault 1”, CVC, Washington D.C., April 23-26, 2015.

“Toxicology Case Vault 2”, CVC, Washington D.C., April 23-26, 2015.

“Stump the Toxicologists”, CVC, Washington D.C., April 23-26, 2015.

“Zootoxins”, CVC, Washington D.C., April 23-26, 2015.

“Toxicology Case Archives: Or Cases that I’ve Known and Loved”, Pet Poison Helpline
Webinair, May, 2015.

“Poison Proof Your Home for Your Pets”, ACC Senior Services, Sacramento, CA, March, 2015.

“A Day in the Life of a Veterinary Toxicologist”, AAPCC Veterinary Symposium, North
American Congress of Clinical Toxicology, San Francisco, CA, Oct. 2015.

“Toxicology Section: Investigation, Diagnosis, Protection, Discovery”, California Animal Health
and Food Safety Laboratory System Advisory Board Meeting, CAHFS, UC-Davis, Oct., 2015.

“Wildlife Toxicology in a Veterinary Diagnostic Laboratory Setting”, Humboldt State
University, November, 2015.

“California’s Diagnostic Laboratory System and Testing to Monitor Products for Assuring Safe
Food and Dairy Products”, One Health Symposium for Food Safety, Nanjing Agricultural
University, Nanjing, China, November 2-4, 2015.



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“Environmental Toxicology and Implications for Food Safety”, One Health Symposium for Food
Safety, Nanjing Agricultural University, Nanjing, China, November 2-4, 2015.

“Environmental Toxicology and Implications for Food Safety”, International Symposium on
Zoonosis and Food Safety”, College of Veterinary Medicine, Yangzhou University, Jiangsu,
China, November 5, 2015.

“Environmental Toxicology and Implications for Food Safety and Security”, One Health for
Food Safety Conference for Animal and Veterinary Scientists, School of Veterinary Medicine,
UC-Davis, Dec., 2015.

“Water, Water Everywhere, But Not a Drop to Drink: Water Quality for Beef Cattle”, “What is
Blue and Green and a Threat to Livestock”, “That Plant Looks Yummy”, and Doc, I Think that
My Cattle Have Been Poisoned!”, Western Veterinary Conference, Las Vegas, NV, March,
2016.

“Pivotal Roles of Diagnostic Toxicology in Wildlife, Domestic Animal, and Human Health”,
“Veterinary Diagnostic Toxicology: On the Front Lines of Animal and Human Health”, Penn
State University, April, 2016.

“Small Animal Diagnostic Toxicology”, Peninsula Veterinary Medical Association Meeting, San
Mateo, CA, May, 2016.

“Veterinary Toxicology”, University of California at Berkeley, Pre-Vet Club, January, 2017.

“Metals That Pollute Our Environment and Adversely Affect Human and Animal Health”,
Integrating Veterinary Medicine, Animal Science, and Agricultural Engineering Through One
Health, Nanjing University and University of California, WIFSS, August, 2018.

“Ecotoxicology”, Fall Conference for Veterinarians, Illinois College of Veterinary Medicine,
Urbana, IL, Oct. 2018.

“Toxicology Potpourri”, Kokopelli Continuing Education Series, DVM Track and Tech Track,
Roseville, CA, October, 2019. (N=20)

“CAHFS’ Toxicology Section, So what does a veterinary diagnostic laboratory do anyway (i.e.,
why do CA taxpayers give us money)?”, UCD Forensic Science Graduate Group, November 1,
2019. (N=15)

Other

Successes and Failures Associated with the 2007 Pet Food Recall: Expert Panel Update,
144th Annual Meeting of the American Veterinary Medical Association Meeting, Washington
D.C., July, 2007.




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CAHFS and melamine. Pacific and Southwest Regional FERN Meeting, Oakland, CA, August,
2007.

The Pet Food Recall Story. 20th Annual Fall Symposium on Recent Advances in Clinical
Medicine, UC-Davis School of Veterinary Medicine, Davis, CA, September, 2007.

Radiation. Review for the American Board of Veterinary Toxicology Certification Examination,
Davis, CA, June 2012.

Harper Career Days: Veterinary Medicine, 2014, 2015.

Explorit Science Center, Davis, CA March 3, 2016, Blue-Green Algae: The Good, The Bad and
the Ugly.

Food Animal and Reproduction Club Symposium, Poisonous Plant Wet Lab, February 9, 2019.

Outside Review

2012, 2015: Center for Veterinary Medicine’s Minor Use Minor Species Development of Drugs,
Research Grant Program.


                                        Publications
Peer Reviewed

   1. Lorenzana, R.M., Beasley, V.R., Buck, W.B., Ghent, A.W., Lundeen, G.R., and
      Poppenga, R.H. (1985): Experimental T-2 toxicosis in swine. I. Changes in cardiac
      output, aortic mean pressure, catecholamines, 6-keto PGF1α, thromboxane B2, and acid-
      base parameters. Fundamental and Applied Toxicology, 5: 879-892.

   2. Lundeen, G.R., Poppenga, R.H., Beasley, V.R., Buck, W.B., and Lambert, R.J. (1986):
      Systemic distribution of blood flow during acute T-2 toxin induced shock in swine.
      Fundamental and Applied Toxicology, 7: 309-323.

   3. Poppenga, R.H., Beasley, V.R., and Buck, W.B. (1986): Assessment of potential
      therapies for acute T-2 toxicosis in the rat. Toxicon, 25(5): 537-546.

   4. Poppenga, R.H., Lundeen, G.R., Beasley, V.R., and Buck, W.B. (1986): Assessment of
      a general therapeutic protocol for the treatment of acute T-2 toxicosis in swine.
      Veterinary and Human Toxicology, 29(3): 237-239.

   5. Beasley, V.R., Lundeen, G.R., Poppenga, R.H., and Buck, W.B. (1987): Distribution of
      blood flow to the gastrointestinal tract of swine during T-2 toxin-induced shock.
      Fundamental and Applied Toxicology, 9: 588-594.




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6. McGuire, J.T., Dierenfeld, E.S., Poppenga, R.H., and Braselton, W.B. (1987): Plasma
   alpha-tocopherol, retinol, cholesterol, and mineral concentrations in captive gorillas.
   Journal of Medical Primatology, 18: 155-161.

7. Poppenga, R.H. and Braselton, W.E. (1990): Effective use of analytical laboratories for
   the diagnosis of veterinary toxicologic problems in small animal practice. Veterinary
   Clinics of North America: Small Animal Practice, 20(2): 293-306.

8. Poppenga, R.H., Trapp, A.L., Braselton, W.E., Louden, C.G., Gumbs, J.M., and Dalley,
   J.B. (1990): Hexachlorophene toxicosis in a litter of Doberman Pinschers. Journal of
   Veterinary Diagnostic Investigation, 2: 129-131.

9. Bonna, R.J., Aulerich, R.J., Bursian, S.J., Poppenga, R.H., Braselton, W.E., and Watson,
   G.L. (1991): Efficacy of hydrated sodium calcium aluminosilicate and activated charcoal
   in reducing the toxicity of dietary aflatoxin to mink. Archives of Environmental
   Contamination and Toxicology, 20: 441-447.

10. Aulerich, R.J., Bursian, S.J., Poppenga, R.H., Mullaney, T.P., and Braselton, W.E.
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            Materials Considered for Expert Report of Dr. Robert H. Poppenga


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Deposition of Digvijay Gurung – 9/11/2018 Volume 1, pages 1-178, exhibits 1-25

Deposition of Digvijay Gurung – 9/11/2018 Volume 1, pages 1-56, exhibits 26-32

Deposition of Daniel Zeiger – 9/19/2018

Deposition of Greg Kean – 9/19/2018 and associated exhibits

Declaration of Gregory Kean – 9/9/2020

Dr. Gary Pusillo Expert Report: Examination of WellPet LLC for Safety, Nutrition, and Health,
June 29, 2020, and referenced documents

Sean Callen Expert Report and referenced documents

Callan Production Documents

       Ellipse Analytics: Analytical Sample Submissions, Analytical Request Forms, BPA QC
       documents

Pusillo Production Documents

       ICPMS QC data

       ISUVDL data

       Chemical Solutions trace element data

       AAFCO Model Guidance Document: AAFCO Guidance for Contaminant Levels
       Permitted in Mineral Feed Ingredients.

       NRC Mineral Tolerance of Animals: Arsenic and Lead chapters

Bates-Numbered Documents

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Other materials are referenced in my report.
